1

a aa yag CaSe 2:08-mj-00947-DUTY CRITE ONTO eG A08 Page 1 of ORIGINAL

 

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA
v.

KEVIN MCDONALD and LEVON AVETISYAN

DOCKET NO.

 

 

MAGISTRATE'S CASE NO.

O947M

 

Complaint for violation of Title 18, United States Code, § 1029(a)(3)

 

 

 

 

 

 

rr, tal

unauthorized acBEss
or More ee Bees Devices.

SO J
a ub

n or aheut ae 5, | 008, in Los Angeles County, within the Contral Distr ict Feo Aid
Kev soe fid-Ler n AVETISYAN knowingly and with intent to defraud p i
eutees ih violation of Title 18, United States Code, Section 1025(a(3),

  
  

NAME OF MAGISTRATE JUDGE UNITED STATES LOCATION
MAGISTRATE JUDGE
Hon. FREDERICK F. MUMM La Verne, CA
{~~~

DATE OF OFFENSE PLACE OF OFFENSE ADDRESS OF: ACCUSED / (TRCN DIN) mo

i ¢ fron Us
April 15,2008 w $« os Angeles County / ™

285 Ox - AD
~ Se FACTS CONSTITUTING THE OFFENSE OR vroregon / 7 4H

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:
(See attached affidavit which is incorporated as part of this Complaint)

 

MATERIAL WITNESSES IN RELATION TO THIS CHARGE:

 

I declare that the
foregoing is true and correct to the

Being duly sworn,

best of my knowledge.

SIGNATURE OF COMPLAINANT

Michael Wisely

 

 

OFFICIAL TITLE

SA-USSS eh _ (YC ne?

 

Sworn to before me and subscribed in my presence,

 

 

SIGNATURE OF MAGIST E JYDGE
> ———————

DATE

April 17, 2008

 

 

1) See Federal Rules of Criminal Procedure rules 3 and 54.

AUSA STEPHEN A. CAZARES )y@_-REC: Detention

 
Case 2:08-mj-00947-DUTY Document1 Filed 04/17/08 Page 2o0f10 Page ID #:2

AFFIDAVIT IN SUPPORT OF ARREST

I, Michael Wisely, being duly sworn hereby declare and
state:
INTRODUCTION

1. Iam a Special Agent (“SA”) of the United States
Secret Service (“USSS”) and have been employed with the USSssS
since May 2007. I am currently assigned to the Los Angeles
Field Office, Financial Crimes Investigations squad, to
investigate violations of federal law relating to financial
crimes, including the theft of individual identifiers as a
means to further financial crime. I received 28 weeks of
training at the federal law enforcement training center in
Brunswick, Georgia, relating to the theft and fraudulent use
of individual identifying information, the transfer of
information onto stolen or counterfeited access devises and
schemes intended to defraud financial institutions. I have
also conferred with my supervisors and more experienced SAs
regarding the facts and conclusions stated below.

2. This affidavit is submitted in support of a
criminal complaint charging Kevin MCDONALD and Levon
AVETISYAN.with Possession of Fifteen or More Counterfeit or
Unauthorized Access Devices in violation of 18 U.S.C.

§ 1029(a) (3).
Case 2:08-mj-00947-DUTY Document1 Filed 04/17/08 Page 3of10 Page ID #:3

3. The facts set forth in this affidavit are based
upon my personal observations, training and experience, and
information obtained during this investigation from other
sources, including: (a) other law enforcement officers; (b)
statements made or reported by various witnesses with
personal knowledge of relevant facts; and (c) my review of
relevant records and reports. This affidavit is intended to
establish that there is sufficient probable cause for the
arrest of MCDONALD and AVETISYAN and does not purport to set
forth all of my knowledge of or investigation into this
matter.

SUMMARY OF INVESTIGATION

4. On April 15, 2008, the USSS, Los Angeles Field
Office, Financial Crimes Investigations squad, received
information from the La Verne Police Department (“La Verne
PD”) that two individuals identified as Kevin MCDONALD and
Levon AVETISYAN were in possession of well over 200 credit
cards and retail gift cards. Many of the credit and gift
cards found in the possession of MCDONALD and AVETISYAN were
later determined to be unauthorized, altered, or
manipulated. Several cards were altered to include the
names of MCDONALD and AVETISYAN. Officers of the La Verne

PD reported the following facts to me and my colleagues at

-2-
Case 2:08-mj-00947-DUTY Document1 Filed 04/17/08 Page 4of10 Page ID #:4

the USSS:

a. MCDONALD and AVETISYAN first came to the
attention of the La Verne PD while detectives from that
department were conducting criminal surveillance in the City
of La Verne, California, on an unrelated case. Detectives
of the La Verne PD witnessed MCDONALD briefly park a white
GMC pick-up truck that he was driving in a “NO PARKING” zone
directly across from a Target department store in La Verne.
AVETISYAN was then observed exiting the white GMC pick-up
truck and entered the Target store. The white GMC pick-up
truck driven by MCDONALD had a rear Nevada license plate
which the detectives queried. The vehicle had no front
license plate. The detectives were able to determine at
that time that the registration for the white GMC pick-up
truck driven by MCDONALD was expired. The detectives later
discovered that the individual to whom the vehicle was
registered was not MCDONALD or AVETISYAN, and that
individual has not yet been identified.

b. Due to the observed behavior, the expired
vehicle registration, and the lack of a front license plate,
the La verne PD detectives followed the white GMC pick-up
truck driven by MCDONALD after AVETISYAN re-entered the

vehicle from the Target store and MCDONALD began to drive

-3-
Case 2:08-mj-00947-DUTY Document1 Filed 04/17/08 Page5of10 Page ID #:5

away from the curbside “No Parking Zone.” While surveilling
MCDONALD and AVETISYAN in the white GMC pick-up truck, the
detectives observed behavior that led them to believe that
MCDONALD became aware of the detectives’ presence. MCDONALD
then pulled the vehicle into a hotel parking lot in La Verne
and stopped. AVETISYAN then exited the white GMC pick-up
truck and entered the hotel lobby where he threw a plastic
bag into a trash can. The bag was later recovered, but no
related evidence was found in the bag. La Verne PD
detectives called for assistance to have a traffic stop
conducted on the white GMC pick-up truck that MCDONALD was
driving while the La Verne PD detectives continued to look
for AVETISYAN inside the hotel. The detectives found
AVETISYAN inside the hotel restaurant.

Cc. Soon thereafter, officers of the La Verne
PD conducted a traffic stop of the white GMC pick-up truck
driven by MCDONALD due to the expired registration, the lack
of a required front license plate, and the observed
suspicious behavior. While conducting the traffic stop,
officers were able to see in plain view numerous credit card
and retail gift cards in the center of the front bench seat,
as well as close to $300 in cash. The two suspects were

arrested by the officers of the La Verne PD for the receipt

-4.
Case 2:08-mj-00947-DUTY Document1 Filed 04/17/08 Page 6of10 Page ID #:6

of known stolen property in excess of $300 and transported
back to the La Verne PD.

da. Upon his arrest, AVETISYAN was found in
possession of an All Access debit card, unaltered, anda
receipt that indicated that while he was inside the Target
store earlier that day, he used the debit card to withdraw
$40. Based on my training and experience, I know that debit
cards like the one found in the possession of AVETISYAN can
be purchased on the Internet and that such debit cards are
often purchased by criminals utilizing stolen or
unauthorized credit cards as a way to obtain access to money
without having to use the stolen or unauthorized credit
cards themselves at retail establishments.

5. After the traffic stop and arrest of MCDONALD and
AVETISYAN, the white GMC pick-up truck driven by MCDONALD
was impounded by the La Verne PD. After being briefed to
the facts of this case by the La Verne PD detectives, the LA
Verne PD detectives, USS SA Moffit, and I conducted an
inventory search of the vehicle. Found inside the white GMC
pick-up truck and containers within the vehicle were
numerous credit cards, retail gift cards, and “white
plastic” cards. Several of these cards were found in

locations within the vehicle that were unusual and might be

5.
Case 2:08-mj-00947-DUTY Document1 Filed 04/17/08 Page 7of10 Page ID#:7

construed as hiding places for the cards.

6. In total, the white GMC pick-up truck driven by
MCDONALD and in which AVETISYAN was a passenger contained
sixty-eight (68) American Express credit cards, one hundred
sixteen (116) Visa credit cards, thirteen (13) MasterCard
credit cards, twenty three (23) Southwest Airlines gift
cards, fourteen (14) Wal-Mart gift cards, and five (5) Lowes
gift cards. Of these approximately 239 cards, some were
found to be unauthorized cards; some were genuine but
altered or manipulated; and some were genuine but
unactivated. Also found in the vehicle were 23 “white
plastic” cards which I know from my training and experience
are used to make counterfeit credit cards or to further
access device fraud schemes. Tipping foil residue which is
used to emboss the numbers on the credit cards and gift
cards was found in the vehicle, as well as cards where the
numbers had been flattened and re-embossed with new numbers.
Several of the cards found inside the white GMC pick-up
truck were altered to include the names of MCDONALD or
AVETISYAN.

7. SA Moffit and I chose a random sample of cards
found in the white GMC pick-up truck and we ran the cards ©

through a device that reads the data encoded in the magnetic

-6-
Case 2:08-mj-00947-DUTY Document1 Filed 04/17/08 Page 8of10 Page ID #:8

strip. At least fifteen of the cards selected showed that
the card numbers embossed on the front of the cards were
different from the account information contained on the
magnetic strip. Through our training and experience, SA
Moffit and I concluded that the magnetic strip on the
selected cards had been erased and re-encoded with different
account numbers.

8. Also found during the inventory search of the
white GMC pick-up truck were copies of credit card receipts
in the names of individuals other than MCDONALD or
AVETISYAN. ‘These receipts contained personal identifiers
such as names, addresses, phone numbers, credit card
numbers, expiration dates, and approval codes. Typed lists
of credit card numbers with corresponding CVNs (Card
Verification Number) and expiration dates were found in the
white GMC pick-up truck as well. Also found in the vehicle
were several electronic devices such as cell phones and
flash drives which have the capability of storing
information such as credit card numbers and other personal
identifiers.

9. I know from my training and experience that such
items as receipts, lists of CVNs, blank credit card stock,

tipping foil, and electronic flash drives constitute the

-7-
Case 2:08-mj-00947-DUTY Document1 Filed 04/17/08 Page9of10 Page ID #:9

tools of the trade for individuals involved in access device
fraud.

10. After reviewing the inventoried items, SA Moffit
and I attempted to interview AVETISYAN. Upon advising
AVETISYAN of his Miranda rights via Secret Service Form
1737, AVETISYAN stated that he did not wish to waive his
rights and the interview was immediately terminated.

11. SA Moffit and I then proceeded to interview
MCDONALD. Upon advising MCDONALD of his Miranda rights per
via Secret Service Form 1737, MCDONALD agreed to waive his
rights and signed the waiver consent form. When questioned
about the credit and gift cards found in his possession,
MCDONALD, who claimed to be from Colorado, indicated that he
was traveling through the La Verne area in order to pick up
cards that he had previously purchased because he wanted to
discard them in order to get his life back together.
MCDONALD indicated that he was also in the area because he
was going to be flying to Las Vegas, Nevada from the Los
Angeles International Airport. MCDONALD stated that he was
going to purchase the airline tickets to Las Vegas with
Southwest Airline gift cards that he purchased with a Visa
gift card given to him by a friend. He indicated that he

purchased the Southwest Airline gift cards from the VONS

-8-
.

Case 2:08-mj-00947-DUTY Document1 Filed 04/17/08 Page 10o0f10 Page ID #:10

grocery store that was located next to the Target store
entered earlier that day by his friend AVETISYAN. When
questioned about how he came into possession of the cards in
the first place, MCDONALD stated that he bought them from a
Hispanic male, first and last name unknown, who received
them from another party. When asked who the friend was that
he was contacting, MCDONALD indicated that he could not give
us the individual’s name and stated at that time that he
would like to retain counsel. The interview was then
immediately terminated.
CONCLUSION

12. Based upon all of the foregoing facts and my
training and experience, I believe that there is probable
cause to believe that Kevin MCDONALD and Levon AVETISYAN
were in possession of fifteen or more counterfeit or
unauthorized access devices in violation of Title 18, United

States Code, Section 1029(a) (3).

SA MICHAEL WISELY ’

United States Secret Service
Sworn and subscribed to before
me on this / 7 day of April, 2008.

United States Magistrate Judge

-9.
